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                                       U.S. Department of Justice

                                                        United States Attorney
                                                        Southern District of New York
                                                       86 Chambers Street
                                                       New York, New York 10007


                                                        November 4, 2020
By ECF


                                                             MEMO ENDORSED
Hon. Katherine Polk Failla
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

                Re:     Gonzalez v. Commissioner of Social Security,
                        No. 20 Civ. 8033 (KPF) (OTW)

Dear Judge Failla:

               This Office represents Andrew M. Saul, the Commissioner of Social Security (the
“Commissioner”), the defendant in the above-referenced action brought pursuant to 42 U.S.C.
§ 405(g), in which the plaintiff challenges a decision to deny his application for Social Security
disability benefits.

               I write to respectfully request a 30-day extension of the time for the parties to
inform the Court whether they are willing to consent, under 28 U.S.C. § 636(c), to conduct all
further proceedings before the assigned Magistrate Judge, from November 4, 2020, to December
4, 2020. The extension is needed because I have not yet been able to reach the plaintiff, who is
appearing pro se, and additional time would enable the parties to complete discussions about
potential consent to proceeding before the assigned magistrate judge.

                 This is the first request for an extension of time in this case. I could not reach the
plaintiff to determine whether he consents to the requested extension, but the extension would
enable the parties to make additional attempts to discuss the potential consent. I thank the Court
for its consideration of this request.

                                                Respectfully,
                                                AUDREY STRAUSS
                                                Acting United States Attorney
                                                /s/ Amanda F. Parsels
                                        BY:     AMANDA F. PARSELS
                                                Assistant United States Attorney
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cc:     Robert Gonzalez (by U.S. Mail)
        Plaintiff Pro Se
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Application GRANTED. The Clerk of Court is directed to mail a copy
of this endorsement to Plaintiff's address of record.



Dated:    November 4, 2020             SO ORDERED.
          New York, New York



                                       HON. KATHERINE POLK FAILLA
                                       UNITED STATES DISTRICT JUDGE
